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  8                          UNITED STATES DISTRICT COURT

  9              CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

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 11    CESAR ALFRED RODRIGUEZ,                 CASE NO. CV 20-01832-PA(AS)

 12                     Petitioner,            ORDER ACCEPTING FINDINGS,
 13         v.                                 CONCLUSIONS AND
 14    PATRICK CORVELLO,                       RECOMMENDATIONS OF UNITED
 15                                            STATES MAGISTRATE JUDGE
                        Respondent.
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            Pursuant to 28 U.S.C. section 636, the Court has reviewed the
 21
      Petition, all of the records herein and the attached Report and
 22
      Recommendation    of   United   States    Magistrate   Judge   to   which   no
 23
      objections were filed.       Accordingly, the Court concurs with and
 24
      accepts the findings and conclusions of the Magistrate Judge.
 25

 26         IT IS ORDERED that Judgment be entered denying the Petition

 27   with prejudice.
 28
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  1         IT IS FURTHER ORDERED that the Clerk serve copies of this
  2   Order, the Magistrate Judge’s Report and Recommendation and the
  3
      Judgment    herein   on   counsel   for   Petitioner    and   counsel      for
  4
      Respondent.
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  6         DATED:   April 22, 2021

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                                                       PERCY ANDERSON
  9                                             UNITED STATES DISTRICT JUDGE
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